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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     JAMES E. BLEDSOE
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     NO. CR-S-04-0026-WBS
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION AND [PROPOSED] ORDER
14        v.                         )     CONTINUING STATUS CONFERENCE
                                     )
15   JAMES E. BLEDSOE and            )
     SUSAN E. D'ORTA, aka            )     DATE: July 23, 2007
16      Susan Mason                  )     TIME: 8:30 a.m.
                                     )     JUDGE: William B. Shubb
17                  Defendants.      )
                                     )
18   _______________________________ )
19        It is hereby stipulated and agreed to between the United States of
20   America through Matthew Segal, Assistant United States Attorney;
21   defendant, JAMES BLEDSOE, by and through his counsel, Matthew C.
22   Bockmon, Assistant Federal Defender; and defendant, SUSAN D'ORTA, by
23   and through her counsel, Dwight M. Samuel, Esq., that the status
24   conference presently scheduled for hearing on June 25, 2007, be vacated
25   and rescheduled for status conference on July 23, 2007, at
26   8:30 a.m.
27         The parties continue to work towards a resolution of the matter,
28   and are exchanging discovery regarding loss and restitution; counsel
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1    needs additional time to consult with their out-of-district clients
2    regarding such loss and restitution.
3          IT IS FURTHER STIPULATED that the period June 25, 2007, through
4    and including July 23, 2007, be excluded in computing the time within
5    which trial must commence under the Speedy Trial Act, pursuant to 18
6    U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 for continuity and
7    preparation of counsel and 18 U.S.C. § 3161(h)(8)(B)(ii) and Local Code
8    T2 for complexity.
9          IT IS FURTHER STIPULATED that the parties agree to toll the
10   statute of limitations from the date of this stipulation until July 23,
11   2007, for any offenses for which the statute of limitations has not
12   expired.
13   Dated: June 22, 2007
14                                           Respectfully submitted,
15                                           DANIEL J. BRODERICK
                                             Federal Defender
16
                                             /s/ Matthew C. Bockmon
17                                           ________________________________
                                             MATTHEW C. BOCKMON
18                                           Assistant Federal Defender
                                             Attorney for Defendant
19                                           JAMES E. BLEDSOE
20
                                             /s/ Matthew C. Bockmon for
21                                               Dwight M. Samuel
                                             _______________________________
22                                           DWIGHT M. SAMUEL
                                             Attorney for Defendant
23                                           SUSAN E. D'ORTA
                                             per telephonic authority
24
25   //
26   //
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28


     Stipulation & Order                      2
            Case 2:04-cr-00026-WBS Document 107 Filed 06/25/07 Page 3 of 3


1    Dated:   June 22, 2007
2                                            MCGREGOR W. SCOTT
                                             United States Attorney
3
                                             /s/ Matthew Segal
4                                            _________________________________
                                             MATTHEW SEGAL
5                                            Assistant U.S. Attorney
                                             per telephonic authority
6
7
8                                        O R D E R
9    IT IS SO ORDERED.
10   Dated:   June 22, 2007
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     Stipulation & Order                      3
